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             IN THE CIRCUIT COURT OF DESOTO COUNTY MISSISSIPPI

JUDITH R.RILEY,                                                                     PLAINTIFF,

                                   DOCKET NO.: ET GIJD2,1- 5115              GC-1
                                   JURY DEMANDED
V.


WAL-MART STORES EAST,LP,and
WAL-MART,INC.                                                                   DEFENDANTS.


                                COMPLAINT FOR DAMAGES


        COMES NOW,Plaintiff, Judith R. Riley, by and through undersigned counsel, pursuant

to the Mississippi Rules of Civil Procedure, and files this Complaint for Personal Injuries against

Defendants, Wal-Mart Stores East, LP,and Wal-Mart, Inc., and would respectfully state unto this

Honorable Court the following, to wit:

                                            PARTIES

1. Plaintiff, Judith R. Riley,(hereafter "Plaintiff') is an adult resident of Olive Branch, DeSoto

     County, Tennessee:

2. Upon information and belief, Defendant, Wal-Mart Stores East, LP,(hereafter "Defendant")

     is a Delaware Corporation, whose principal address is 702 South West 8th Street, Bentonville,

     Arkansas 72716, and can be served with process through its registered agent CT Corporation

     System,665 Lakeland East Drive, Flowood, Mississippi 39232.

3. Upon information and belief, Defendant, Wal-Mart Inc., is a Delaware Corporation, whose

     principal address is 702 South West 8th Street, Bentonville, Arkansas 72716,and can be served

     with process through its registered agent CT Corporation System, 665 Lakeland East Drive,

     Flowood, Mississippi 39232.                                                  FRED
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                                                                           CIRCO COURT CLERItttratnt-
                                                                                                    111 MS
                               EXHIBIT A
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                                      JURISDICTION AND VENUE

    4. This case arises in Tort from a trip and fall that took place in DeSoto County, Mississippi.

    5. Venue is proper in this Court in accordance with the Mississippi Rules of Civil Procedure and

        the laws of the State of Mississippi, including specifically §11-11-3 of the Mississippi Code

        Annotated, as amended. Pursuant to the Mississippi Constitution, MISS. CODE ANN. §9-7-

        81, MISS. CODE ANN. §11-11-3, and Rule 82 of the Mississippi Rules of Civil Procedure,

        jurisdiction and venue are proper in the Circuit Court of DeSoto County.

    6. Plaintiff is asserting a general negligence claim against the Defendants arising out or the

        creation of a dangerous condition, dangerous policies and procedures on the premises, and

        failure to warn patrons.

                                                   FACTS

    7. Plaintiffincorporates herein by reference all preceding paragraphs ofthis Complaint as ifeach

        were fully set forth herein in their entirety.

    8. At all times pertinent to this Complaint, Defendants owned,operated and/or controlled a retail

        store called Wal-Mart Supercenter # 2846, located at 7950 Craft Goodman Frontage Road,

        DeSoto County, Mississippi 38654.

    9. On or about August 27,2021,Plaintiff was on the Defendants' premises as a paying customer.

    • 10. As Plaintiff was walking through the garden center, she suddenly tripped and fell over an

        elevated shipping pallet that was improperly placed on the floor.

     11. The elevated shipping pallet on the floor created the dangerous and/or defective condition.

.    12. There were no warning signs or any other indications near the area where Plaintifffell to warn

        customers ofthe dangerous condition.

     13. As a direct and proximate result ofthe Defendant's negligence, Plaintiff was caused to suffer



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   bodily injuries that required emergent care.

14. At all times relevant to this Complaint, Defendants knew or should have known of the

   dangerous condition, as Defendants' employees, agents and/or assigns were charged with

   maintaining the premises.

                                      CAUSE OF ACTION
                                        NEGLIGENCE

15. Plaintiffincorporates herein by reference all preceding paragraphs ofthis Complaint as ifeach

   were fully set forth herein in their entirety.

16. Defendants, by and through the actions and/or inactions of their employees, agents and/or

   assigns, were negligent in their failure to adequately maintain the area where Plaintifffell.

17. Defendants, by and through the actions and/or inactions of their employees, agents and/or

   assigns were negligent in their failure to warn Plaintiffofthe possibility ofinjury while on the

   premises.

18. Defendants, by and through the actions and/or inactions of their employees, agents and/or

   assigns were negligent in their failure to conduct a reasonable inspection of the premises,

   and/or for failing to adhere to store policy and/or failing to institute an appropriate policy to

   maintain the premises in a safe manner.

19. Defendants, by and through the actions and/or inactions of their employees, agents and/or

   assigns were negligent in their failure to maintain a safe environment for Plaintiff and other

   patrons, while at the Wal-Mart Supercenter # 2846.

20. Upon information and belief, Defendants had, or should have had, actual and/or constructive

   notice ofthe dangerous and/or defective condition that caused Plaintiff's injuries.

21. The Plaintiff would further state that the Defendants failed to take reasonable steps to remedy

   this dangerous condition.

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22. Plaintiff would further show into the Court that she was exercising due diligence and keeping

   a proper lookout around and about for her own safety, but that she could not see the dangerous

   condition ofthe elevated shipping pallet until the very moment that she fell.

                                  INJURIES AND DAMAGES

23. Plaintiffincorporates herein by reference all preceding paragraphs ofthis Complaint as ifeach

   were fully set forth herein in their entirety.

24. Plaintiff charges and alleges that as a result of the negligence of the Defendants, Plaintiff

   suffered severe,serious and permanent injuries, including, but not limited to the following:

           a. Severe injuries which required emergent medical care;

           b. Medical expenses, past, present and future;

           c. Severe physical pain and mental suffering;

           d. Loss ofthe enjoyment of life;

           e. Injuries both temporary and permanent in nature;

           f. Prejudgment and/or postjudgement interest to the extent permitted by law; and

           g. Severe fright and shock.

25. Plaintiff further seeks damages for personal injury, pain and suffering, and punitive damages,

   in an amount to be proven at trial from the Defendants' gross negligence.

                                        RELIEF SOUGHT

         WHEREFORE PREMISES CONSIDERED,Plaintiff, Judith R. Riley, respectfully

prays:

1. That the Plaintiffbe awarded the present cash value ofany medical care and treatment that she

   has or will have to undergo;

2. That Plaintiff be awarded special damages for medical, hospital and doctors' expenses



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   according to proof;

3. That Plaintiff be awarded compensatory damages in the amount to be determined by a jury,

   but not to exceed Seventy-Five Thousand Dollars($75,000.00);

4. That Plaintiff be awarded post-judgement interests as allowed by law;

5. That a jury be empaneled to try the issues when joined;

6. Any and all such further reliefas the Court may deem just and equitable; and

7. The reservation ofPlaintiff's right to amend these pleadings to conform to the facts ofthis

   matter.

                                     Respectfully Submitted,

                                     THE LAW OFFICES OF JOHN MICHAEL BAILEY




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                                     Memphis,TN 38115
                                     Phone:(901)529-1111
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                                     Attorneyfor Plaintiff




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